    Case 1:24-cv-00285-RC Document 41-2 Filed 05/31/24 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MIR RAHMAN RAHMANI et al.,

                 Plaintiffs,

       v.
                                               Civil Action No. 1:24-cv-00285 (RC)
JANET YELLEN,
Secretary of U.S. Department
of the Treasury, et al.,

                 Defendants.


                               [PROPOSED] ORDER

      Upon due consideration of Defendants’ Motion for Summary Judgment, it is hereby

ordered that Defendants’ Motion for Summary Judgment is GRANTED.

      SO ORDERED.



Dated: ___________                                  ___________________________
                                                    RUDOLPH CONTRERAS
                                                    United States District Judge
